     Case 2:23-cv-00295-TOR    ECF No. 46        filed 03/18/24   PageID.996   Page 1 of
                                            24



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 5                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WASHINGTON
 6

 7    JANE ELIZABETH ROBERTS, JON
      ALLEMAN, MICHELLE                            NO. 2:23-CV-0295-TOR
 8    ANDREWS, GINGER BENNETT,
      LANI LAGANOWSKI, INGA                        ORDER GRANTING DEFENDANT’S
 9    MILLER, FRANCISCO OQUENDO,                   MOTION TO DISMISS & DENYING
      ERIN PALMER, MICHELLE                        PLAINTIFFS’ MOTION TO FILE
10    RICHARDSON, PETER SPRINGS,                   AMENDED COMPLAINT
      KATHY WOLD, and JULIA
11    ZELEPUKHIN,

12                            Plaintiffs,

13         v.

14    SHRINERS HOSPITALS FOR
      CHILDREN, SHRINERS
15    HOSPITALS FOR CHILDREN –
      SPOKANE, BEVERLY BOKOVITZ,
16    FRANCES FARLEY, JERRY
      GANTT, JOHN MCCABE, PHILLIP
17    GRADY, PETER BREWER, and
      GOVERNOR JAY INSLEE,
18
                              Defendants.
19

20


       ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
       PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 1
     Case 2:23-cv-00295-TOR      ECF No. 46        filed 03/18/24   PageID.997   Page 2 of
                                              24



 1         BEFORE THE COURT is Defendant Governor Jay Inslee’s Motion to

 2   Dismiss (ECF No. 36) and Plaintiffs’ Motion for Leave to File an Amended

 3   Complaint (ECF No. 45). The Court finds oral argument unnecessary to the

 4   disposition of these motions. The Court has reviewed the record and files herein

 5   and is fully informed. For the reasons discussed below, Defendant’s Motion to

 6   Dismiss (ECF No. 36) is GRANTED and Plaintiffs’ Motion to File an Amended

 7   Complaint (ECF No. 45) is DENIED.

 8                                   BACKGROUND

 9         These matters arise out of Defendant Governor Jay Inslee’s response to the

10   outbreak of the novel coronavirus SARS-CoV-2 (COVID-19) in Washington State.

11   See ECF No. 1. Plaintiffs are former at-will healthcare employees of Shriners

12   Hospitals for Children – Spokane (Shriners Spokane) whose employment was

13   terminated after they failed to vaccinate against COVID-19 as required by their

14   employer. Id. at 6-7, ¶¶ 18.1-18.12.

15         Plaintiffs blame their termination on Defendant’s promulgation of

16   Proclamation 21-14, which was issued August 9, 2021 in response to increased

17   transmission of COVID-19 due to a mutation known as the “Delta variant.” Id. at

18   5, ¶ 6; see also Procl. 21-14 at 2, https://perma.cc/C5AU-MT2U. As recounted in

19   this Court’s previous Order, Proclamation 21-14 required all healthcare workers to

20   fully vaccinate against COVID-19 by October 18, 2021, and barred any health care


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 2
     Case 2:23-cv-00295-TOR        ECF No. 46        filed 03/18/24   PageID.998   Page 3 of
                                                24



 1   employer from continuing to employ any unvaccinated worker past that date. ECF

 2   No. 42 at 3-4 (citing Procl. 21-14 at 4, § 1(d)). An employee was considered “fully

 3   vaccinated” either (1) two weeks after receiving “the second dose in a two-dose

 4   series of a COVID-19 vaccine authorized for emergency use, licensed, or

 5   otherwise approved by the FDA” or (2) two weeks after receiving “a single-dose

 6   COVID-19 vaccine authorized for emergency use, licensed, or otherwise approved

 7   by the FDA.” Id. at 4 (quoting Procl. 21-14 at 7, § 5(e)). The Proclamation carved

 8   out specific exemptions for individuals with disabilities and sincerely held

 9   religious beliefs. Procl. 21-14 at 4-5, § 2(a), (b). In accordance with this mandate,

10   Shriners Spokane circulated a staff-wide email notice instructing employees to

11   fully vaccinate against COVID-19 by the October 18 deadline. ECF No. 42 at 4

12   (citing ECF No. 1-5 at 6).

13         Prior to the promulgation of Proclamation 21-14, the United States Food and

14   Drug Administration (FDA) approved three COVID-19 vaccines for Emergency

15   Use Authorization (EUA), including Pfizer-BioNTech, a two-part vaccination

16   series. 1 Id. at 4-5 (citing FDA, FDA Takes Key Action in Fight Against COVID-19

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18         1
               In considering a motion to dismiss, the Court may take judicial notice of
19   facts “not subject to reasonable dispute,” Fed. R. Evid. 201(b), and matters of

20   public record, including the records and reports of administrative bodies, Lee v.


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 3
     Case 2:23-cv-00295-TOR       ECF No. 46        filed 03/18/24   PageID.999   Page 4 of
                                               24



 1   by Issuing Emergency Use Authorization for First COVID-19 Vaccine, U.S. FOOD

 2   & DRUG ADMIN. (Dec 11, 2020), https://perma.cc/2V4A-TNRK). Under the EUA

 3   statute, the FDA may authorize emergency use of a vaccine pending full agency

 4   approval. See 21 U.S.C. § 360bbb-3(a)(2).

 5         On August 23, 2021—approximately two weeks after Proclamation 21-14

 6   was issued and two months before the October 18 vaccination deadline—the FDA

 7   approved the first COVID-19 vaccine for individuals 16 years of age and older. Id.

 8   at 5 (citing FDA, FDA Approves First COVID-19 Vaccine, U.S. Food & Drug

 9   Admin. (Aug. 23, 2021), https://perma.cc/4KJS-MBM2). The agency explained

10   that the approved vaccine had previously been known as Pfizer-BioNTech and

11   would be marketed as “Comirnaty” going forward. Id. The FDA further explained

12   that the Pfizer-BioNTech and Comirnaty immunizations were composed of “the

13   same formulation” and therefore could “be used interchangeably . . . to provide the

14   COVID-19 vaccination series.” Id. at 5-6 (quoting ECF No. 34-1 at 2). Clinical

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16   City of Los Angeles, 250 F.3d 668, 688-89 (9th Cir. 2001) (citation omitted). A

17   matter is not subject to reasonable dispute where it “is generally known within the

18   trial court’s territorial jurisdiction” or “can be accurately and readily determined

19   from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid.

20   201(b)(1), (2).



        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 4
     Case 2:23-cv-00295-TOR      ECF No. 46     filed 03/18/24   PageID.1000     Page 5 of
                                              24



 1   trials showed the vaccine was 91% effective in preventing COVID-19. Id. at 5.

 2         Plaintiffs’ employment was terminated for refusing to vaccinate by

 3   Proclamation 21-14’s October 18, 2021 deadline. Id. at 6 (citing ECF No. 1 at 5, ¶

 4   8). Plaintiffs believe they were unlawfully terminated and otherwise sanctioned

 5   for refusing an “unlicensed investigational new drug.” Id. (citing ECF No. 1 at 75,

 6   ¶ 280). Specifically, Plaintiffs maintain that the vaccine formula available to

 7   them—Pfizer-BioNTech—by the October 18 deadline was still only provisionally

 8   authorized under the EUA statute and that they could not be required to vaccinate

 9   with a formula only authorized for emergency use. Id. In other words, Plaintiffs

10   assert that Comirnaty was the only FDA-approved drug that they could be

11   compelled to vaccinate with, and that the Comirnaty was legally distinct from the

12   Pfizer-BioNTech vaccine. Id.

13         On October 13, 2023, Plaintiffs filed a 104-page complaint against their

14   former employer and Defendant Inslee in this Court. See ECF No. 1. The

15   complaint raises six claims under 42 U.S.C. § 1983, including that: (1) Defendants

16   unlawfully “subjected [them] to investigational drug use”; (2) Defendants violated

17   the Equal Protection Clause of the Fourteenth Amendment; (3) Defendants

18   violated the Due Process Clause of the Fourteenth Amendment; (4) Defendants

19   violated the Spending Clause; (5) Defendants violated the unconstitutional

20   conditions doctrine; and (6) Defendants violated the Public Readiness and


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 5
     Case 2:23-cv-00295-TOR       ECF No. 46     filed 03/18/24   PageID.1001    Page 6 of
                                               24



 1   Emergency Preparedness Act (PREP Act). Id. at 86-98. Plaintiffs separately

 2   allege that (7) Defendants breached a contract to which Plaintiffs were a third-

 3   party beneficiary; (8) Defendants violated “Washington State common law

 4   employment torts”; (9) Defendants committed the tort of outrage; and (10) if the

 5   Court does not find that Defendants were engaged in state action under issue (1),

 6   then the Court should find that the EUA statute contains an implied right of action.

 7   Id. at 98-102.

 8          This Court previously considered and dismissed with prejudice all claims

 9   against the Shriners Defendants. ECF No. 42. The Court now turns to Defendant

10   Inslee’s motion to dismiss (ECF No. 36) and Plaintiffs’ motion for leave to file an

11   amended complaint (ECF No. 45).

12                                      DISCUSSION

13   I.     Defendant’s Motion to Dismiss

14          Defendant moves to dismiss all ten counts pending against him. The Court

15   grants the motion. Plaintiffs cannot prevail on their Section 1983 claims because

16   Defendant is immune from suit in his official capacity and entitled to qualified

17   immunity in his individual capacity. The remaining four claims each fail as a

18   matter of law.

19          A.   Rule 12(b)(6) Standard

20          A motion to dismiss for failure to state a claim under Rule 12(b)(6) “tests the


          ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
          PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 6
     Case 2:23-cv-00295-TOR        ECF No. 46        filed 03/18/24   PageID.1002    Page 7 of
                                                   24



 1   legal sufficiency” of a plaintiff’s claims.    Navarro v. Block, 250 F.3d 729, 732 (9th

 2   Cir. 2001); see also Fed. R. Civ. P. 12(b)(6) (allowing defendants to bring a motion

 3   to dismiss for “failure to state a claim upon which relief can be granted”). To

 4   withstand a motion to dismiss, a complaint must “contain enough facts to state a

 5   claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

 6 544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads factual

 7 content that allows the court to draw the reasonable inference that the defendant is

 8 liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

 9 (citation omitted). This requires the plaintiff to provide “more than labels and

10 conclusions, and a formulaic recitation of the elements.” Twombly, 550 U.S. at 550.

11 While a plaintiff need not establish a probability of success on the merits, he must

12 demonstrate “more than a sheer possibility that a defendant has acted unlawfully.”

13 Iqbal, 556 U.S. at 678.

14         When determining whether a claim has been stated, the Court may consider

15 the “complaint, materials incorporated into the complaint by reference, and matters

16 of which the court may take judicial notice.” Metzler Inv. GMBH v. Corinthian

17 Colls., Inc., 540 F.3d 1049, 1061 (9th Cir. 2008) (citing Tellabs, Inc. v. Makor Issues

18 & Rights, Ltd., 551 U.S. 308, 322 (2007)). A complaint must contain “a short and

19 plain statement of the claim showing that the pleader is entitled to relief.” Fed. R.

20 Civ. P. 8(a)(2).     A plaintiff’s “allegations of material fact are taken as true and


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 7
     Case 2:23-cv-00295-TOR       ECF No. 46     filed 03/18/24   PageID.1003     Page 8 of
                                               24



 1   construed in the light most favorable to the plaintiff[,]” but “conclusory allegations

 2   of law and unwarranted inferences are insufficient to defeat a motion to dismiss for

 3   failure to state a claim.” In re Stac Elecs. Secs. Litig., 89 F.3d 1399, 1403 (9th Cir.

 4   1996) (citation and brackets omitted).

 5         In assessing whether Rule 8(a)(2) is satisfied, the court must first identify the

 6   elements of the plaintiff’s claims and then determine whether those elements could

 7   be proven by the facts pled. The court may disregard allegations contradicted by

 8   matters properly subject to judicial notice or by exhibit. Sprewell v. Golden State

 9   Warriors, 266 F.3d 979, 988 (9th Cir. 2001). The court may also disregard

10   conclusory allegations and arguments which are unsupported by reasonable

11   deductions and inferences. Id. A claim may only be dismissed if “it appears

12   beyond doubt that the plaintiff can prove no set of facts in support of his claim

13   which would entitle him to relief.” Navarro, 250 F.3d at 732.

14         B.    Section 1983 Claims: Official Capacity

15         Plaintiffs bring multiple constitutional and statutory claims under 42 U.S.C.

16   § 1983. To stake a claim under Section 1983, Plaintiffs must allege Defendant is a

17   “person” who subjected them “to the deprivation of any rights, privileges, or

18   immunities secured by the Constitution and laws.” 42 U.S.C. § 1983. Such claims

19   are “limited by the scope of the Eleventh Amendment,” which immunizes the

20   States from suits brought in federal court absent a waiver by the State. Doe v.


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 8
     Case 2:23-cv-00295-TOR       ECF No. 46      filed 03/18/24    PageID.1004     Page 9 of
                                                24



 1   Lawrence Livermore Nat’l Lab’y, 131 F.3d 836, 839 (9th Cir. 1997). The United

 2   States Supreme Court has determined that “a suit against a state official . . . is no

 3   different from a suit against the State itself,” and that an official acting within his

 4   official capacity is therefore not a “person” within the meaning of Section 1983.

 5   Will v. Michigan Dep’t of State Police, 491 U.S. 58, 71 (1989). As an exception to

 6   this general rule, a State official sued in his official capacity under Section 1983

 7   for “prospective injunctive relief” does qualify as a “person” subject to suit. Flint

 8   v. Dennison, 488 F.3d 816, 825 (9th Cir. 2007).

 9         In this case, Plaintiffs do not dispute that they seek monetary damages rather

10   than prospective injunctive relief. ECF Nos. 41 at 10 (admitting Defendant cannot

11   be sued in his official capacity); 1 at 102-103, ¶¶ 410-16. Accordingly, the Section

12   1983 claims against Defendant Inslee in his official capacity are dismissed.

13         C.    Section 1983 Claims: Individual Capacity

14         Plaintiffs also sue Defendant in his individual capacity for actions taken

15   under color of law. ECF No. 1 at 9, ¶ 19.9. Defendant answers that he is entitled

16   to qualified immunity on these issues because Plaintiffs have not established that

17   the Proclamation violated any clearly established constitutional or statutory rights.

18   ECF No. 36 at 55.

19         Qualified immunity shields government actors from civil damages unless

20   their conduct violates “clearly established statutory or constitutional rights of


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 9
     Case 2:23-cv-00295-TOR       ECF No. 46    filed 03/18/24     PageID.1005        Page 10
                                            of 24



 1   which a reasonable person would have known.” Pearson v. Callahan, 555 U.S.

 2   223, 231 (2009) (internal citation omitted). “Qualified immunity balances two

 3   important interests—the need to hold public officials accountable when they

 4   exercise power irresponsibly and the need to shield officials from harassment,

 5   distraction, and liability when they perform their duties reasonably.” Id. In

 6   evaluating a state actor’s qualified immunity assertion, a court must determine (1)

 7   whether the facts, viewed in the light most favorable to the plaintiff, show that the

 8   defendant’s conduct violated a statutory or constitutional right; and (2) whether the

 9   right was clearly established at the time of the alleged violation such that a

10   reasonable person in the defendant’s position would have understood that his

11   actions violated that right. Saucier v. Katz, 533 U.S. 194, 201 (2001), overruled in

12   part by Pearson, 555 U.S. at 227.

13          A court may, within its discretion, decide which of the two prongs should be

14   addressed first in light of the particular circumstances of the case. Pearson, 555

15   U.S. at 236. If the answer to either inquiry is “no,” then the defendant is entitled to

16   qualified immunity and may not be held personally liable for his conduct. Glenn v.

17   Wash. Cnty., 673 F.3d 864, 870 (9th Cir. 2011). The Court analyzes each Section

18   1983 claim made by Plaintiffs in turn.

19   //

20   //


          ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
          PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 10
     Case 2:23-cv-00295-TOR      ECF No. 46    filed 03/18/24     PageID.1006     Page 11
                                           of 24



 1                   1.    Investigational Drug Use Claims

 2         Plaintiffs assert that they were unlawfully “[s]ubjected to investigational

 3   drug use” under “[t]he CDC COVID-19 Vaccination Program Provider

 4   Agreement, and the implementing statutes and regulations found at 45 CFR Part

 5   46, the Belmont Report, 21 U.S.C. § 360bbb-3, Article VII of the ICCPR Treaty,

 6   Federal Wide Assurance, 10 U.S.C. § 980, EUA Scope of Authorization letters,

 7   and the Fourteenth Amendment.” ECF No. 1 at 86, ¶ 316.

 8         These claims fail from the outset because, as this Court and several others

 9   have now concluded, Plaintiffs cannot establish that the Proclamation subjected

10   them to any kind of “investigational” drug use. As explained in this Court’s prior

11   Order on the Shriners Defendants’ motion to dismiss, the Pfizer-BioNTech vaccine

12   available to Plaintiffs before the October 18 deadline was not “investigational” but

13   instead fully approved by the FDA: the Pfizer-BioNTech and Comirnaty vaccines

14   were identical in all but name. ECF No. 42 at 15 (citing Johnson v. Brown, 567 F.

15   Supp. 3d 1230, 1247 (D. Or. 2021); Curtis v. Inslee, --- F. Supp. 3d ----, 2023 WL

16   8828753, at *2 (W.D. Wash. Dec. 21, 2023)). Moreover, because it is undisputed

17   that Plaintiffs rejected the FDA-approved Pfizer vaccine, Plaintiffs cannot claim

18   that they were unlawfully “subjected” to any investigational medical product or

19   procedure. ECF No. 1 at 87-88, ¶ 325. As such, the facts do not indicate that

20   Defendant’s conduct violated any constitutional or statutory right under the EUA


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 11
     Case 2:23-cv-00295-TOR         ECF No. 46    filed 03/18/24    PageID.1007      Page 12
                                              of 24



 1   or related laws or treaties, and Defendant is entitled to qualified immunity on this

 2   issue.

 3                      2.   Equal Protection Claim

 4            Plaintiffs also claim that Defendant violated the Equal Protection Clause of

 5   the Fourteenth Amendment by penalizing healthcare workers who failed to receive

 6   the full vaccination series by October 18. ECF No. 1 at 88, ¶ 329; see U.S. Const.

 7   Amend. XIV, § 1 (“No State shall . . . deny to any person within its jurisdiction the

 8   equal protection of the laws.”).

 9            The Equal Protection Clause applies “when the government makes class-

10   based decisions in the employment context, treating distinct groups of individuals

11   categorically differently.” Engquist v. Oregon Dep’t of Agr., 553 U.S. 591, 605

12   (2008) (citations omitted). If there is no suspect class at issue, a government

13   policy “need only rationally further a legitimate state purpose to be valid.”

14   Minnesota State Bd. for Cmty. Colls. v. Knight, 465 U.S. 271, 291 (1984). The

15   requirements of the Equal Protection Clause will be satisfied if “there is a plausible

16   policy reason for the classification, the government relied on facts that may have

17   been considered to be true, and the relationship of the classification to its goal is

18   not so attenuated as to render the distinction arbitrary or irrational.” Williams v.

19   Brown, 567 F. Supp. 3d 1213, 1228 (D. Or. 2021) (quoting Nordlinger v. Hahn,

20   505 U.S. 1, 11 (1992)) (internal quotations omitted). “Given the standard of


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 12
     Case 2:23-cv-00295-TOR       ECF No. 46    filed 03/18/24     PageID.1008   Page 13
                                            of 24



 1   review, it should come as no surprise that the Court hardly ever strikes down a

 2   policy as illegitimate under rational basis scrutiny.” Trump v. Hawaii, 585 U.S.

 3   667, 705 (2018).

 4         Plaintiffs have not alleged that they are members of suspect class, nor would

 5   the Court entertain such argument. See Valdez v. Grisham, 559 F. Supp. 3d 1161,

 6   1178 (D. N.M. 2021) (noting suspect and quasi-suspect classes include

 7   classifications based on features such as race, national origin, sex, and

 8   illegitimacy). Accordingly, rational basis review applies.

 9         Defendant offered legitimate policy reasons for issuing Proclamation 21-14.

10   As this Court held in a similar Order challenging the lawfulness of Proclamation

11   21-14 in the context of a challenge brought by firefighters and other operational

12   employees employed by the City of Spokane, “While the Proclamation

13   differentiates between vaccinated and unvaccinated employees, the classifications

14   serve a legitimate government purpose, which is to slow the spread of COVID-19,

15   and the classifications are not arbitrary or irrational.” Bacon v. Woodward, 2:21-

16   CV-0296-TOR, 2022 WL 2381021, at *3 (E.D. Wash. June 30, 2022). “The Ninth

17   Circuit has recognized that reducing the spread of COVID-19 is a legitimate state

18   interest.” Pilz v. Inslee, 3:21-cv-05735-BJR, 2022 WL 1719172, at *5 (W.D.

19   Wash. May 27, 2022) (citing Slidewaters LLC v. Washington State Dep’t of Lab. &

20   Indus., 4 F.4th 747, 758 (9th Cir. 2021); Doe v. San Diego Unified Sch. Dist., 19


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 13
     Case 2:23-cv-00295-TOR        ECF No. 46    filed 03/18/24     PageID.1009     Page 14
                                             of 24



 1   F.4th 1173, 1177 (9th Cir. 2021), application for injunctive relief denied, 142 S.

 2   Ct. 1099 (2022)). In the context of challenges brought by former healthcare

 3   workers employed by a children’s hospital, the rationale behind Proclamation 21-

 4   14 is even more acute. See Procl. 21-14 at 2 (explaining vaccination protects

 5   “youth who are not eligible to receive a vaccine, immunocompromised individuals,

 6   and vulnerable persons including persons in health care facilities”). Thus, because

 7   Plaintiffs have not stated any facts which show that Proclamation 21-14 was issued

 8   beyond Defendant’s lawful authority, Defendant is entitled to qualified immunity

 9   on this issue.

10                    3.    Due Process Claims

11         Plaintiffs present both substantive and procedural due process challenges.

12   The Court begins with the substantive due process claim. Plaintiffs assert that

13   Defendant ignored Plaintiffs’ right to refuse administration of “EUA drugs and

14   medical products . . . in an attempt to increase the number of participants in the

15   CDC COVID-19 Vaccination Program for purposes of greed.” ECF No. 1 at 89, ¶

16   334. Plaintiffs further aver that Proclamation 21-14’s “requirement that Plaintiffs

17   inject unlicensed drugs into their bodies as a condition to sell their labor is not a

18   legitimate exercise of the police power of the State.” Id. at 89-90, ¶ 336.

19         “The substantive component of the Due Process Clause forbids the

20   government from depriving a person of life, liberty, or property in such a way that


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 14
     Case 2:23-cv-00295-TOR        ECF No. 46    filed 03/18/24     PageID.1010     Page 15
                                             of 24



 1   . . . interferes with rights implicit in the concept of ordered liberty.” Engquist v.

 2   Oregon Dep't of Agric., 478 F.3d 985, 996 (9th Cir. 2007) (internal quotations and

 3   citation omitted). As explained above, Defendant had a rational basis for issuing

 4   the Proclamation.

 5         Second, and contrary to Plaintiffs’ assertions, there is no fundamental right

 6   to continued employment in a particular job. Massachusetts Bd. of Ret. v. Murgia,

 7   427 U.S. 307, 313 (1976); see also Culinary Studios, Inc. v. Newsom, 517 F. Supp.

 8   3d 1042, 1069 (9th Cir. 2021) (recognizing substantive due process violations only

 9   where there has been “a complete prohibition of the right to engage in a calling”).

10   This Court has now ruled on several occasions that employees may be lawfully

11   terminated for refusing to vaccinate in accordance with the terms of Proclamation

12   21-14. See e.g., Jensen v. Biden, 4:21-CV-5119-TOR, 2021 WL 10280396, at *8

13   (E.D. Wash. Nov. 19, 2021) (holding that Plaintiff who refused vaccination did not

14   have a constitutionally protected interest in continued employment as an athletics

15   coach); see also, e.g., Wise v. Inslee, 2:21-CV-0288-TOR, 2022 WL 1243662, at

16   *5 (E.D. Wash. Apr. 27, 2022) (holding that state employees who refused to

17   vaccinate were not entitled to continued employment in their jobs). The result is

18   the same here. Despite the widespread availability of an FDA-approved

19   vaccination series, Plaintiffs refused vaccination and thereby failed to meet the

20   requirements to maintain their employment. Accordingly, the facts do not show


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 15
     Case 2:23-cv-00295-TOR        ECF No. 46    filed 03/18/24     PageID.1011     Page 16
                                             of 24



 1   that Defendant’s conduct violated Plaintiff’s rights under the substantive due

 2   process clause, and Defendant is entitled to qualified immunity on this claim.

 3         Turning to the procedural due process challenge, Plaintiffs assert that

 4   Defendant did not provide them “with a date, time, place, or procedure to defend

 5   their right to refuse injection of an unlicensed drug before depriving them of their

 6   liberty or their property.” ECF No. 1 at 89-90, ¶ 336.

 7          “A section 1983 claim based upon procedural due process . . . has three

 8   elements: (1) a liberty or property interest protected by the Constitution; (2) a

 9   deprivation of the interest by the government; [and] (3) lack of process.” Portman

10   v. Cnty. of Santa Clara, 995 F.2d 898, 904 (9th Cir. 1993). However, as this Court

11   has explained:

12         [W]hen a policy is generally applicable, employees are not entitled to
           process above and beyond the notice provided by the enactment and
13         publication of the policy itself. District courts around the country have
           applied this principle to employer-issued vaccine mandates during the
14         COVID-19 pandemic, finding employees are not entitled to greater
           service than what is provided by the enactment of the mandates
15         themselves.

16   Wise, 2022 WL 1243662 at *5 (internal quotations and citations omitted).

17         As in Wise, Defendant was not required to provide Plaintiffs “with more

18   process beyond what was provided by enacting the Proclamation.” Id. Further, as

19   this Court discussed in examining Plaintiffs’ substantive due process claim,

20   Plaintiffs have not identified a constitutionally protected liberty or property interest


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 16
     Case 2:23-cv-00295-TOR        ECF No. 46    filed 03/18/24    PageID.1012         Page 17
                                             of 24



 1   in maintaining their employment at Shriners. Therefore, the Court finds that

 2   Defendant is entitled to qualified immunity on this claim.

 3                    4.   Spending Clause Claim

 4         Next, Plaintiffs assert that Defendant violated the Spending Clause. ECF

 5   No. 1 at 90-92. In their response briefing, Plaintiffs admit that “the Spending

 6   Clause itself does not create a cause of action,” but argue that “conferred rights in

 7   any spending legislation do.” ECF No. 41 at 23. Plaintiffs press that the CDC

 8   Program “is spending legislation” because the EUA statute confers certain rights

 9   and all vaccinations were purchased by the federal government using funding from

10   the Department of Defense. Id.

11         The Spending Clause authorizes Congress to “lay and collect Taxes, Duties,

12   Imposts, and Excises, to pay the Debts and provide for the common Defence and

13   general Welfare of the United States.” See U.S. Const., Art. I, § 8, cl. 1. “Incident

14   to this power, Congress may attach conditions on the receipt of federal funds, and

15   has repeatedly employed the power ‘to further broad policy objectives by

16   conditioning receipt of federal moneys upon compliance by the recipient with

17   federal statutory and administrative directives.’” S. Dakota v. Dole, 483 U.S. 203,

18   206 (1987) (quoting Fullilove v. Klutznick, 448 U.S. 448, 474 (1980)).

19         The Spending Clause may attach limits on the federal government’s ability

20   to condition use of federal funds, but Plaintiffs identify no authority for the


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 17
     Case 2:23-cv-00295-TOR        ECF No. 46    filed 03/18/24     PageID.1013     Page 18
                                             of 24



 1   proposition that it likewise limits state governors or private employers. See Curtis

 2   v. Inslee, 3:23-cv-5741-RJB, 2024 WL 810503, at *7 (W.D. Wash. Feb. 27, 2024)

 3   (denying leave to file an amended complaint).

 4         Additionally, as Defendant observes, Plaintiffs have not identified applicable

 5   spending legislation giving rise to enforceable rights. See Gonzaga Univ. v. Doe,

 6   536 U.S. 273. 280 (2002). The only arguable spending legislation Plaintiffs

 7   discussed—10 U.S.C. § 980—provides that “[f]unds appropriated to the

 8   Department of Defense may not be used for research involving a human being.”

 9   (emphasis added). The statute by its plain terms does not apply to the Governor,

10   and neither does the Proclamation involve research on human beings. Thus,

11   because Plaintiffs cannot show Defendant’s conduct violated any of their rights

12   under the Spending Clause or applicable spending legislation, Defendant is entitled

13   to qualified immunity on this issue.

14                    5.    Unconstitutional Conditions Doctrine Claim

15         Plaintiffs contend that the Proclamation violated the unconstitutional

16   conditions doctrine. ECF No. 1 at 94-95. Under the unconstitutional conditions

17   doctrine, “even though a person has no ‘right’ to a valuable governmental benefit

18   and even though the government may deny him the benefit for any number of

19   reasons . . . [i]t may not deny a benefit to a person on a basis that infringes his

20   constitutionally protected interests.” Bingham v. Holder, 637 F.3d 1040, 1045-46


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 18
     Case 2:23-cv-00295-TOR       ECF No. 46    filed 03/18/24    PageID.1014     Page 19
                                            of 24



 1   (9th Cir. 2011) (quoting Perry v. Sinderman, 408 U.S. 593, 597 (1972)). The

 2   doctrine does not apply where a government benefit is not at issue or where at-will

 3   employees have been terminated. See Curtis, 2023 WL 8828753 at *7 (citing

 4   Antunes v. Rector & Visitors of Univ. of Va., 627 F. Supp. 3d 553, 566 (W.D. Va.

 5   2022).

 6         Plaintiffs assert that the unconstitutional conditions doctrine applies because

 7   Defendant “established conditions requiring Plaintiffs to surrender their

 8   Constitutional rights under the Fourteenth Amendment to enjoy privileges of the

 9   State, such as the ability to sell their labors in the marketplace freely.” ECF No. 1

10   at 95, ¶ 365. Because Plaintiffs have not alleged a government benefit is at issue

11   and do not deny their status as at-will employees, Defendant’s conduct did not

12   amount to a violation of the unconstitutional conditions doctrine.

13                    6.   PREP Act Claims

14         Plaintiff’s final Section 1983 claim concerns the PREP Act. Plaintiffs argue

15   that Defendant established laws and policies which conflicted with the PREP Act

16   by requiring “Plaintiffs to participate in the use of a covered countermeasure under

17   threat of penalty.” ECF No. 1 at 96, ¶ 376.

18         Under the PREP Act, the Secretary of Health and Human Services may

19   authorize certain “covered countermeasures,” including drugs for emergency use

20   authorization, upon “a determination that disease or other health condition or other


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 19
     Case 2:23-cv-00295-TOR       ECF No. 46    filed 03/18/24    PageID.1015      Page 20
                                            of 24



 1   threat to health constitutes a public health emergency.” 42 U.S.C. § 247d-6d(b)(1).

 2   The PREP Act creates immunity for covered persons for “any claim for loss that

 3   has a causal relationship with the administration to or use by an individual of a

 4   covered countermeasure” upon the Secretary’s declaration that a disease

 5   constitutes public health emergency. Maney v. Brown, 91 F.4th 1296, 1298 (9th

 6   Cir. 2024) (citing 42 U.S.C. § 247d-6d(a)(2)(B)). Thus, as Defendant explains,

 7   “rather than creating a cause of action, the PREP Act creates immunity.” ECF No.

 8   36 at 46 (quotations and citations omitted); see also Maney, 91 F.4th at 1301

 9   (“Several of the PREP Act’s provisions expressly show Congress’s intent to extend

10   immunity to persons who make policy-level decisions regarding administration or

11   use of covered countermeasures and do not directly administer countermeasures to

12   particular individuals.”). The “sole exception” to such immunity stems from “an

13   exclusive Federal cause of action against a covered person for death or serious

14   physical injury proximately cause by willful misconduct.” 42 U.S.C. § 247d-

15   6d(d)(1). A complaint under this exception must be filed and maintained in the

16   United States District Court for the District of Columbia and accompanied by a

17   physician’s affidavit and certified medical records documenting the injury.

18   § 247d-6d(e)(1), (e)(4).

19         Plaintiffs have not alleged that they were subject to death or any kind of

20   serious physical injury. Nor could any such physical injury have occurred because


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 20
     Case 2:23-cv-00295-TOR       ECF No. 46    filed 03/18/24   PageID.1016     Page 21
                                            of 24



 1   it is conceded that Plaintiffs refused administration of the vaccine. As such, Court

 2   finds that Defendant is entitled to qualified immunity on all claims raised under

 3   Section 1983 on the basis that Plaintiffs have not pled any facts which establish

 4   Defendant violated a constitutional or statutory right. The Court does not proceed

 5   to consider the second step, and the claims are dismissed with prejudice. Glenn,

 6   673 F.3d at 870.

 7         C.    Implied Right of Action

 8         Separate from their Section 1983 claims, Plaintiffs urge that the EUA statute

 9   contains a private right of action which permits them to sue. The Court addressed

10   this issue in its previous Order on the Shriners Defendants’ motion to dismiss and

11   explained that the statute contains no such implied right. ECF No. 42 at 21-22.

12   That conclusion remains in force. The claim is dismissed with prejudice.

13         D.    Breach of Contract

14         Plaintiffs claim that the CDC COVID Vaccination Program Provider

15   Agreement accorded them the benefit of choice—whether to vaccinate or not—

16   without “fear [of] the loss of benefits to which they are otherwise entitled when

17   considering participation.” ECF No. 1 at 98, ¶ 387. As this Court explained on the

18   Shriners Defendants’ motion to dismiss, Plaintiffs’ claim for breach of contract is

19   legally deficient because:

20         The Provider Agreement is concerned with vaccine administration and,
           by all counts, Plaintiffs declined to receive a COVID-19 vaccination.

        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 21
     Case 2:23-cv-00295-TOR         ECF No. 46    filed 03/18/24    PageID.1017     Page 22
                                              of 24



 1           Thus, even if the Court were to accept that recipients of COVID-19
             vaccinations were the intended third-party beneficiaries who the parties
 2           contracted to protect, that would have no bearing on Plaintiffs’ claims of
             unlawful termination because Plaintiffs refused vaccination. At best, any
 3           benefit to Plaintiffs resulting from this agreement was purely indirect or
             incidental. Moreover, the alleged breach of contract that Plaintiffs
 4           complain of did not in fact occur because an FDA-authorized vaccine—
             Pfizer-BioNTech—was available to Plaintiffs at the time the
 5           employment policy was in place.

 6   ECF No. 42 at 22.

 7           The same rationale applies here, and the claim is dismissed with prejudice.

 8           E.   Employment Torts & Outrage

 9           Plaintiffs do not address their claim for Washington State common law

10   employment torts or outrage in their response briefing; the Court presumes the

11   argument is therefore waived. See Atchley v. Pepperidge Farm, Inc., CV-04-0452-

12   FVS, 2008 WL 2074035, at *8 (E.D. Wash. May 14, 2008) (“[H]aving failed to

13   respond to this argument in their briefing, the Court has no choice but to consider

14   the issue conceded.”). Additionally, these claims are legally deficient for the

15   reasons outlined in the Court’s underlying Order on Defendants’ motion to

16   dismiss. ECF No. 42 at 24-25. The claims are dismissed with prejudice.

17   II.     Plaintiffs’ Motion to File an Amended Complaint

18           Plaintiffs move to file an amended complaint. ECF No. 45. The motion

19   proposes to add information about, inter alia, the “CDC Playbook;” the State’s

20   duties per the EUA letter issued by the FDA; “[h]ow Gov. Inslee’s proclamation


           ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
           PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 22
     Case 2:23-cv-00295-TOR        ECF No. 46    filed 03/18/24     PageID.1018     Page 23
                                             of 24



 1   unlawfully amended the FDCA;” the doctrine of fair warning as it relates to

 2   qualified immunity; and “[f]acts supporting Plaintiffs’ claim to a property interest

 3   in their right to refuse an EUA/PREP Act drug.” ECF No. 45 at 2-3.

 4         Federal Rule of Civil Procedure 15(a) governs the amendment of pleadings

 5   prior to trial. Rule 15(a)(2) provides that leave to amend a complaint should be

 6   freely given when justice so requires. Although this standard is generous and

 7   construed liberally to promote resolution of disputes on their merits, it is “subject

 8   to the qualification that amendment of the complaint does not cause the opposing

 9   party undue prejudice.” DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 186 (9th

10   Cir. 1987). In addition to prejudice to the opposing party, the court may also

11   consider the timing of the motion, the presence or absence of bad faith by the

12   moving party, and the futility of the proposed amendment when ruling on a motion

13   to amend a complaint prior to trial. United States v. Corinthian Colls., 655 F.3d

14   984, 995 (9th Cir. 2011).

15         The Court has ruled that Defendant Governor Inslee has immunity for all

16   claims pressed against him under Section 1983, and that the Shriners Defendants

17   were not state actors for purposes of Section 1983. The Court has further found

18   that Plaintiffs have failed to state a cause of action under their state law claims.

19   For the reasons articulated in this Order, the Court’s prior Order, and similar

20   Orders by the United States District Court for the Western District of Washington


        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 23
     Case 2:23-cv-00295-TOR      ECF No. 46    filed 03/18/24    PageID.1019    Page 24
                                           of 24



 1   in examining substantially similar claims brought by Plaintiff’s counsel, the Court

 2   finds that further amendment would be futile. Plaintiffs have not offered any set of

 3   facts in the proposed amended complaint which undermine the conclusions set

 4   forth herein or which would establish some new theory of liability.

 5   ACCORDINGLY, IT IS HEREBY ORDERED:

 6         1. Defendant Governor Jay Inslee’s Motion to Dismiss (ECF No. 36) is

 7            GRANTED. All pending claims against Defendant are dismissed with

 8            prejudice.

 9         2. Plaintiffs’ Motion for Leave to File an Amended Complaint (ECF No.

10            45) is DENIED.

11         The District Court Executive is directed to enter this Order and Judgment,

12   furnish copies to counsel, and CLOSE the file.

13         DATED March 18, 2024.

14

15                                  THOMAS O. RICE
                                 United States District Judge
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        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS & DENYING
        PLAINTIFFS’ MOTION TO FILE AMENDED COMPLAINT ~ 24
